Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 1 of 24 PageID #:17284




                       EXHIBIT 49
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 2 of 24 PageID #:17285
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 3 of 24 PageID #:17286
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 4 of 24 PageID #:17287
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 5 of 24 PageID #:17288
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 6 of 24 PageID #:17289
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 7 of 24 PageID #:17290
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 8 of 24 PageID #:17291
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 9 of 24 PageID #:17292
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 10 of 24 PageID #:17293
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 11 of 24 PageID #:17294
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 12 of 24 PageID #:17295
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 13 of 24 PageID #:17296
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 14 of 24 PageID #:17297
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 15 of 24 PageID #:17298
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 16 of 24 PageID #:17299
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 17 of 24 PageID #:17300
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 18 of 24 PageID #:17301
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 19 of 24 PageID #:17302
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 20 of 24 PageID #:17303
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 21 of 24 PageID #:17304
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 22 of 24 PageID #:17305
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 23 of 24 PageID #:17306
Case: 1:22-cv-00125 Document #: 753-49 Filed: 12/16/24 Page 24 of 24 PageID #:17307
